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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 1:17-cv-20724-KMM

  PRO TRANSPORT, INC.,
  PRO TRANSPORT JACKSONVILLE, INC.,
  PRO TRANSPORT CHARLESTON, INC., and
  O.J. TRUCKING & LEASING CORP.,

         Plaintiffs

  v.

  GREAT AMERICAN INSURANCE COMPANY,

        Defendant.
  _______________________________________/

                           JOINT MOTION FOR INTERLINEATION

         COME NOW the Plaintiffs and Defendant, through their undersigned counsel, and

  hereby request the entry of an Order permitting the Interlineation of the Amended Complaint as

  follows:

         The insurance policy in question in this action was issued by “Great American Assurance

  Company” as reflected on the Non-Trucking Liability and Physical Damage Policy Declaration

  for that policy. The request for Interlineation is to substitute the name “Great American

  Insurance Company” with “Great American Assurance Company”, to avoid possible confusion

  with discovery and trial and pre-trial preparation. Presently the Plaintiffs are scheduled to depose

  the corporate representatives of the Defendant, and have served discovery requests for document

  production, and the requested Interlineation will facilitate these discovery events.

         Interlineation is favored to correct errors that, through the interlineation, will result in no

  prejudice to either party and will facilitate the goals of a just resolution of the action. See, e.g.

  Marco’s Franchising, LLC v. Marco’s Italian Exp., Inc., 239 F.R.D. 686 (M.D. Fla. 2007) (in a
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  matter involving interlineation of the name of the Defendant with a successor corporation, the

  Court cited F.R.C.P. 15(a), holding that leave to amend shall be freely given when justice so

  requires).



         WHEREFORE, the parties jointly request that the Court enter the attached Order

  permitting the Interlineation of “Great American Insurance Company” with “Great American

  Assurance Company”.


         DATED this 7th day of July, 2017.


  Respectfully submitted,

  /s/ Michael Shelley                        /s/ Melissa A. Gillinov________________
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